Case 1:16-CV-00979-RGA Document 20 Filed 11/27/17 Page 1 of 1 Page|D #: 78

James T. Vaughn Correotionnal Center
1181 Paddock Road
Smyrna, DE 19977
November 21, 2017

The Honorable Richard G. Andrews
United States District Court

J. Caleb Boggs Federal Building
844 N. King Street

Wilmington, DE 19801

Re: Parker v. Senato
1:16-cv-00979-RGA

Dear Judge Andrews:

This is to advise the Court for two months plaintiff
in above entitled housed in the infirmary. Mr. Parker, lack
use of hands and other parts of body.

The nature of Mr. Parker's illness, I'm unaware, as per
Mr. Parker's request prepared litigation. I feel required
convey his health status, to prevent dismissal of action for
failure to prosecute.

The Court's attention to this matter most appreciated.

   
  

. .v‘ ` )\/'( /
/7_ ./;

/ ,#d,,_
rt“$aun ers;w€§§SQO

RS:rs
xc: Clerk of the Court
Roopa Sabesan, Deputy Attorney General

